FILED

UNITED STATES DISTRICT COURT NOV 19 2014

EASTERN DISTRICT OF MISSOURI U.S. UISTRIC) COURT
EASTERN DIVISION EASTERN DISTRICT OF MO
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
, : N
No AR/DD
DOMINIC J. PAVIA, ) 4:14CR372 J
: )
Defendant. )
INDICTMENT

COUNT I
The Grand Jury charges that:
At all times pertinent to the charges in this indictment:
1. Federal law defined the term
(a) “minor” to mean any person under the age of eighteen years (18 U.S.C. § 2256(1));
(b) “sexually explicit conduct” to mean actual or simulated--
(i) sexual intercourse, including genital-genital, anal-genital, oral-genital, oral-anal,
whether between persons of the same or opposite sex,
(ii) _ bestiality,
(iil) masturbation,
(iv) sadistic or masochistic abuse, or
(v) lascivious exhibition of the genitals or pubic area of any person (18 U.S.C.
§2256(2)(A));
(c) “computer” to mean an electronic, magnetic, optical, electrochemical or other high speed
data processing device performing logical, arithmetic or storage functions, including any data storage
facility or communications facility directly related to or operating in conjunction with such device. (18

US.C.§ 2256(6));
(d) "child pornography" to mean any visual depiction, including any photograph, film, video,
picture, or computer or computer-generated image or picture, whether made or produced by electronic,
mechanical, or other means, of sexually explicit conduct, where--

(A) the production of such visual depiction involves the use of a minor engaging in
sexually explicit conduct; or

(C) such visual depiction has been created, adapted, or modified to appear that an
identifiable minor is engaging in sexually explicit conduct. (18 U.S.C.§2256(8)).

2. The “Internet” was, and is, a computer communications network using interstate and
foreign lines to transmit data streams, including data streams used to store, transfer and receive graphic
files.

3. Between on or about January 1, 2010, and on or about April 26, 2011, within the Eastern
District of Missouri and elsewhere,

DOMINIC J. PAVIA,
the defendant knowingly received images and videos of child pornography using any means or facility of
interstate and foreign commerce, that is, the defendant received graphic image files via the Internet which
contained child pornography, including, but not limited to, the following:

1. 025 1450355587388.JPG,” a graphic image file located in the file path “/Users/D
Pavia/Documents/Frost Wire/Saved/T odddlers, babies, little girls pthe pics/reanna/reanna/” that depicts a
prepubescent minor female performing oral sex on a male;

2. “Oyo-g-07-02.jpg,” a graphic image file located in the file path “Users/D
Pavia/Documents/Frost Wire/Saved/Todddlers, babies, little girls pthe pics/Cum Babbies/Cum Babbies/”
that depicts a male ejaculating onto the anus of a prepubescent minor who is an infant;

3. “! New ! (pthc) Laura Mouth Pump And Swallows [Pthc].mpg,” a graphic video file
located in the file path “/Users/D Pavia/Desktop/articles/tn/oral/” that depicts a prepubescent minor

female performing oral sex on a male;
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In violation of Title 18, United States Code, Sections 2252A(a)(2).

A TRUE BILL.

FOREPERSON

RICHARD G. CALLAHAN
United States Attorney

ROBERT F. LIVERGOOD, #35432MO
Assistant United States Attorney
